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                                                              s/Edward R. Korman
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                                       s/Joan M. Azrack
